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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                            GAINESVILLE DIVISION

Dwight Hurley,                              )
                                            )
      Plaintiff,                            )               Civil Action File No.:
                                            )
      v.                                    )
                                            )
United Collection Service, Inc.,            )           COMPLAINT WITH
                                            )          JURY TRIAL DEMAND
      Defendant                             )
                                            )

                            PRELIMINARY STATEMENT

      This action for damages is based upon the Defendant’s overt and intentional,

unlawful conduct in the furtherance of its efforts to collect a consumer debt. The

Defendant’s conduct is in violation of the Fair Debt Collection Practices Act

(FDCPA), 15 U.S.C. § 1692 et seq. and the Georgia Fair Business Practices Act,

(GFBPA) O.C.G.A. 10-1-390 et seq.

                                      PARTIES

      1.     Plaintiff, Dwight Hurley, is a natural person who resides in Hall

County, Georgia.

      2.     Defendant, United Collection Service, Inc., is a corporation

headquartered in Florida and does not maintain a registered agent in the State of


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Georgia. It can be served through its registered agent and President, Thomas

Hynes, 106 Commerce Street, Suite 101, Lake Mary, Florida 32746.

                              JURISDICTION AND VENUE

      3.     This Court has federal question jurisdiction over Plaintiff’s Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq., claims pursuant to

28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d). This Court has supplemental

jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

      4.     This Court has personal jurisdiction over Defendant because, inter

alia, Defendants frequently and routinely conducts business in the State of Georgia,

including the conduct complained of herein.

      5.     Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Georgia because a substantial part of the events or omissions giving rise to the

claims occurred in this district.

      6.     Venue is proper in the Gainesville Division because the conduct

complained of herein occurred in Hall County, which is in the Gainesville

Division.

                               FACTUAL ALLEGATIONS




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       7.        Plaintiff is a 61-year old man with deteriorating health. He is disabled,

unable to engage in competitive employment, and receives disability insurance

benefits through the Social Security Administration.

       8.        Plaintiff is allegedly obligated to pay a consumer debt arising out of

medical services and is therefore, a “consumer”, as that term is defined by 15

U.S.C. § 1692a(3).

       9.        Defendant markets itself as a national collection agency providing a

full     range     of   collection    activity,   including    credit   reporting.   See,

unitedwecollect.com/services/united-we-collect/.          (Last visited December 15,

2020.)

       10.       Defendant manages, and collects upon, thousands of consumer debt

accounts annually.

       11.       Defendant is, therefore, a “debt collector” as that term is defined by

15 U.S.C. § 1692a(6).

       12.       The Plaintiff has fallen behind on a significant number of consumer

debts, mostly medical expenses, over the last few years.

       13.       For the last several months, the Plaintiff has been receiving collection

calls and letters from a number of parties, including the Defendant.




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      14.    By September 2020 the Plaintiff and his wife concluded that their debt

was out of control. They were not sure what they owed and to whom. They

resolved to get control of their debt and to determine if it was possible to pay what

they owed to various creditors or if bankruptcy would be necessary.

      15.    As part of this process the Plaintiff obtained copies of his credit report

as published by Experian and noted an account reported in collection by the

Defendant which he did not recognize. The account was reported as opened in with

the Defendant in October, 2017. A reproduction of the tradeline as reported by the

Defendant on the September 2020 Experian report appears below…




      16.    Plaintiff initiated a telephone call to the Defendant on or about

September 10th, 2020. After confirming the Plaintiff’s identity, the Defendant


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confirmed that it was collecting a debt in the amount of $300.00 for Hall County

EMS relating to an emergency transport that occurred on June 18th, 2017. The

Defendant further advised that this was the amount remaining after Medicare had

paid its portion of the total charges.

      17.    Eventually the Plaintiff concluded that he was unable to manage his

total debt given his inability to maintain employment, and on October 2nd, 2020 he

filed a petition for bankruptcy under Chapter 13 of the United States Bankruptcy

Code in the Northern District of Georgia, Gainesville Division. His case was

assigned number 20-21340.

      18.    The Plaintiff scheduled the Defendant as an unsecured creditor,

referencing both of the debts described by the Defendant and as reported to

Experian. A reproduction of the pertinent schedule reflecting this debt, highlighted

for ease of reference, appears below…




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      19.   On October 4th, 2020 notice of the Plaintiff’s bankruptcy filing was

provided to the Defendant via the Bankruptcy Noticing Center. A copy of this

notice with Defendant’s address is highlighted and attached hereto as Exhibit 1.


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      20.    As part of his desire to regain complete control over his finances, the

Plaintiff obtained a copy of his credit report as published by Experian on

November 11th, 2020. In reviewing that report he noted that the Defendant, despite

having actual notice of the Plaintiff’s bankruptcy case and its inclusion therein as

an unsecured creditor, reported the account in collection and described above as in

current collection, and did not report that the debt had been included in Plaintiff’s

bankruptcy. A reproduction of the relevant portion of the tradeline as reported by

the Defendant on November 3rd, 2020 is reproduced below…




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        21.   The Defendant reported the status of the account as being in active

collection as of November 3, 2020. This was objectively false and materially

misleading. It provided all viewers of the Plaintiff’s credit report with the

impression that this particular debt was in active collection, was not included in the

Plaintiff’s bankruptcy case, and that the Plaintiff was subject to further collection

on the account including legal process. Moreover, it convinced the Plaintiff that

the Defendant was determined to continue collection efforts despite the bankruptcy

case.

                                INJURIES-IN-FACT

        22.   The FDCPA provides consumers with “statutorily-created rights to be

free from ‘being subjected to false, deceptive, unfair, or unconscionable means to

collect a debt.’” McCamis v. Servis One, Inc., No. 8:16-CV-1130-T-30AEP, 2016

U.S. Dist. LEXIS 99492 (M.D. Fla. July 29, 2016); Church v. Accretive Health,

Inc., 654 Fed. Appx. 990, 2016 U.S. App. LEXIS 12414, 2016 WL 3611543 (11th

Cir. 2016).

        23.   An injury-in-fact sufficient to satisfy Article III standing requirements

“may exist solely by virtue of statutes creating legal rights, the invasion of which

creates standing.” Church, at 993, quoting Havens Realty Corp. v. Coleman, 455

U.S. 363, 373, 102 S. Ct. 1114, 71 L. Ed. 2d 214 (1982).
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      24.    Violation of statutory rights are not a “hypothetical or uncertain”

injury, but one “that Congress has elevated to the status of a legally cognizable

injury through the FDCPA.” McCamis, at 4, citing Church, at 3.

      25.    Defendant is subjecting Plaintiff to false, deceptive, unfair, and

unconscionable means to collect the debt.

      26.    Defendant’s acts and omissions caused particularized harm to the

Plaintiff in that the false and misleading information provided by Defendant

creates the false impression that Defendant’s claim is subject to collection outside

the parameters of Plaintiff’s bankruptcy case. This is a significant detriment as it

hinders Plaintiff’s ability to secure post-petition credit during the bankruptcy.

Moreover, it has created anxiety and worry on the part of the Plaintiff that

Defendant is going to continue collection activity notwithstanding the bankruptcy.

      27.    Accordingly, through the violation of Plaintiffs’ statutorily created

rights under the FDCPA, Plaintiffs have suffered an injury-in-fact sufficient to

establish Article III standing.

                                   DAMAGES

      28.    As a result of the Defendant’s actions and/or omissions, Plaintiff has

suffered actual damages, including but not limited to the following:




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      a.)      Being subjected to false, deceptive, unfair, and unconscionable debt

collection practices;

      b.)      Uncompensated time expended away from activities of daily living, to

confer with counsel regarding the Defendant's collection efforts; and,

      c.)      Anxiety and worry caused by concern that Defendant was engaging in

false credit reporting and continuing collection activities unlawfully. The anxiety

and worry experienced by the Plaintiff was sufficient to negatively affect his

demeanor, his ability to engage in daily activities, resulted in sleeplessness, and

adversely affected his relationships with others.

                               CAUSES OF ACTION

                                      COUNT I

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                               15 U.S.C. § 1692 et. seq.

      29.      Plaintiff incorporates by reference paragraphs 1 through 28 as though

fully stated herein.

Violations of 15 U.SC. § 1692e and its subparts

      30.      15 U.S.C. § 1692e specifically prohibits the use of any false,

deceptive, or misleading representations or means in connection with the collection

of any debt.

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      31.    The use of “or” in § 1692e means a representation violates the

FDCPA if it is false or deceptive or misleading. Bourff v. Rubin Lublin, LLC, 674

F.3d 1238, 1241 (11th Cir. 2012).

      32.    The standard in determining the nature of any such representation is

that of the “least sophisticated consumer.” Its purpose is to protect "naive

consumers" with a minimal understanding of personal finance and debt

collection. LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1194 (11th Cir.

2010) (per curiam).

      33.    Moreover, the least sophisticated consumer is not to be held to the

same standard as a reasonably prudent consumer. The least sophisticated

consumer, though not unreasonable, is "ignorant" and "unthinking," "gullible,"

and of "below-average sophistication or intelligence," Pinson v. JPMorgan Chase

Bank, Nat'l Ass'n, No. 16-17107, 2019 U.S. App. LEXIS 33662, at 12-13 (11th Cir.

Nov. 12, 2019), quoting Clomon v. Jackson, 988 F.2d 1314, 1318 (2d Cir. 1993)

      34.    A false representation in connection with the collection of a debt is

sufficient to violate the FDCPA, even if it is not alleged or proven to be misleading

or deceptive.

      35.    The Defendant’s reporting of his account as being in active collection

as opposed to being involved in Plaintiff’s bankruptcy was objectively false and

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materially misleading, and a violation of 15 U.S.C. §§ 1692e, 1692e(2)A, and

1692e(8).

                                      COUNT II

  VIOLATIONS OF THE GEORGIA FAIR BUSINESS PRACTICES ACT

                            O.C.G.A. § 10-1-390, et seq.

      36.    Plaintiff incorporates by reference paragraphs 1 through 28 and 30

through 35 as though fully stated herein.

      37.    O.C.G.A. § 10-1-390 et seq is commonly known as the "Fair Business

Practices Act of 1975" (the “GFBPA”).

      38.    The purpose of the GFBPA, is to protect consumers from unfair

and/or deceptive practices in the conduct of any trade or commerce in part or

wholly in the state. O.C.G.A. § 10-1-391.

      39.    O.C.G.A. § 10-1-391 directs that the GFPBA is to be interpreted and

applied liberally and in harmony with the Federal Trade Commission Act, 15

U.S.C. § 45(a)(1), which implements the FDCPA.

      40.    O.C.G.A. § 10-1-393(a) of the GFBPA broadly prohibits unfair and/or

deceptive business practices.

      41.    Defendant intentionally engaged in unfair and deceptive business

practices, as set forth herein, in an effort to collect a consumer debt.

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      42.      Defendant’s conduct has implications for the consuming public in

general.

      43.      Defendant’s conduct negatively impacts the consumer marketplace.

      44.      Upon information and belief, Defendant does not maintain a place of

business in Georgia and has no assets in Georgia, thus relieving Plaintiffs of the

Notice and Demand requirements of O.C.G.A. § 10-1-399(b).

      45.      As a result of Defendant’s violations of O.C.G.A. § 10-1-393(a),

Plaintiff is entitled to recover general damages pursuant to O.C.G.A. § 10-1-

399(a).

      46.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover exemplary damages pursuant to O.C.G.A. §

10-1-399(a).

      47.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover treble damages pursuant to O.C.G.A. § 10-1-

399(c).

      48.      Plaintiff is entitled to recover reasonable attorney’s fees and expenses

of litigation pursuant to O.C.G.A. § 10-1-399(d).

                                       TRIAL BY JURY

      49.      Plaintiff is entitled to and hereby requests a trial by jury.

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        WHEREFORE, Plaintiff prays that judgment be entered against Defendant

for:

        a.)   Plaintiff’s actual damages;

        b.)   Statutory damages pursuant to 15 U.S.C. § 1692k;

        c.)   Reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k

        d.)   General, exemplary, and treble damages pursuant to O.C.G.A. § 10-1-

399(a) & (c);

        e.)   Reasonable attorney’s fees and costs pursuant to O.C.G.A. § 10-1-

399(d); and

        f.)   Such other and further relief as may be just and proper.

        Respectfully submitted this 16th day of December, 2020.

                                        BERRY & ASSOCIATES

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